                Case 8:22-bk-00690-MGW                 Doc 98        Filed 09/14/22   Page 1 of 1

[Dogmaphv] [District Order Granting Motion to Appear Pro Hac Vice]




                                          ORDERED.
Dated: September 14, 2022




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
                                           www.flmb.uscourts.gov



In re:                                                                     Case No.
                                                                           8:22−bk−00690−MGW
                                                                           Chapter 13

Teresa Gaffney




________Debtor*________/

                    ORDER GRANTING MOTION TO APPEAR PRO HAC VICE
              AND DIRECTING PAYMENT TO THE UNITED STATES DISTRICT COURT

   THIS CASE came on for consideration, without hearing, of the Motion to Appear Pro Hac Vice (Document
# 92 ) ("Motion") of attorney James J Macchitelli, Esq for representation of Debtor, Teresa Gaffney .
Accordingly, it is ORDERED:

   1. The Motion is Granted.

   2. Attorney James J Macchitelli, Esq is admitted to appear before this Court in this case and any related
adversary proceeding as counsel for Debtor, Teresa Gaffney subject to Local Rule 2090−1.

   3. Within fourteen days from the date of this order, attorney James J Macchitelli, Esq shall pay to the
Clerk, of the United States District Court for the Middle District of Florida, an Attorney Special Admission
Fee in the amount of $150.00 and upon payment of the fee, file a Notice of Compliance with the Clerk of the
U.S. Bankruptcy Court. Procedures for Attorney Special Admission are available on the U.S. District Court's
website.

    4. Upon completion of the Court's electronic filing registration forms and requirements, the Clerk is
directed to issue attorney James J Macchitelli, Esq , a temporary login and password to the Court's electronic
filing system (CM/ECF) with filing privileges limited to this case and any related adversary proceedings.
CM/ECF access request should be directed to the ECF Helpdesk at ecfhelp@flmb.uscourts.gov. PACER
accounts required for viewing, must be set up by the attorney through PACER at http://www.pacer.gov.

The Clerk's office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
